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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

VICENTE GUERRA,

       Plaintiff,

v.                                                            Case No: 8:19-cv-985-T-36TGW

DESTINY INDUSTRIES, LLC,

      Defendant.
___________________________________/

                                            ORDER

       Before the Court is the Amended Stipulated Notice of Voluntary Dismissal Against

Defendant, Destiny Industries, LLC (Doc. 64). In accord with the Amended Stipulated Notice of

Voluntary Dismissal Against Defendant, Destiny Industries, LLC, it is ORDERED AND

ADJUDGED as follows:

       1)      The Amended Stipulated Notice of Voluntary Dismissal Against Defendant,

Destiny Industries, LLC is APPROVED (Doc. 64).

       2)      This cause is dismissed, with prejudice. Each party shall bear its own costs and

attorneys’ fees.

       3)      The Clerk is directed to close this case.

       DONE AND ORDERED in Tampa, Florida on March 12, 2020.




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Counsel of Record
